Case 2:04-CV-02882-BBD-tmp Document 3 Filed 07/19/05 Page 1 of 2 Page-|D 1

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IN THE UNITED sTATEs DIsTRICT coURT ~~~~~ D.c.
FoR THE WESTERN DISTRICT 0F TENNESSEE 05 JUL ,9
WESTERN DrvrsloN PH 2-' 2
W§rsn
- - .[.`i“'.§. v
MARIO HILLIARD, 14qu gp W;L$gupr
Piainnff,
v. No. 04-2882-B

UNITED STATES OF AMERICA,

Defendant.

 

ORDER OF TRANSFER

 

This matter was originally assigned to the undersigned in error by the clerk’s office on
November 1, 2004. This case is related to the sentence imposed on Mario Hilliard by Judge
Bernice B. Donald in United States of America v. Mario Hilliard, 03~20312. The clerk’s office
should have been assigned this case, wherein Mario Hilliard filed a Motion Under 28 U.S.C.
§ 2255 to Vacate, Set Aside or Correct Sentence, to Judge Donald. Consequently, the above
case is transferred to Judge Bernice B. Donald for all future handling

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I'r rs so 0RDERED this {‘z§" day of Juiy, 2005.

/a/%@\

J. DANIEL BREEN \
NIT D STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 3 in
case 2:04-CV-02882 Was distributed by faX, mail, or direct printing on
July 19, 2005 to the parties listed.

 

 

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P.O. Box 34550
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Honorable Bernice Donald
US DISTRICT COURT

